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     SAO
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                               UNITED STATES DISTRICT COURT
 6

 7                                            DISTRICT OF NEVADA

 8   MARCELINA LAMOUREUX,                                       Case No.: 2:19-cv-1736-KJD-NJK

 9                    Plaintiff,
     vs.
10                                                           STIPULATION AND ORDER TO EXTEND
                                                             TIME TO FILE PLAINTIFF’S RESPONSE TO
11   JPMORGAN CHASE BANK, N.A., a foreign                    DEFENDANT’S MOTION FOR SUMMARY
     limited-liability company; DOES I-X, and ROE            JUDGMENT
12   ENTITIES I-X, inclusive,

13                    Defendants.
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               The Plaintiff’s counsel, due to unexpected circumstances, will be unable to meet the deadline of
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16   December 23, 2020 for filing of the Plaintiff’s Response to the Motion for Summary Judgment in this

17   matter.
18             Therefore, the parties by and through their respective attorneys of record, hereby respectfully
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     submit their Stipulation and Order to Extend Time for Plaintiff to file her opposition to Defendant’s
20
     Motion for Summary Judgment from December 23, 2020 to January 5, 2021.
21
       DATED this 22nd day of December, 2020.             DATED this 2nd day of December 2020.
22

23     INJURY LAWYERS OF NEVADA                           WILSON ELSER MOSKOWITZ
                                                          EDELMAN & DICKER LLP
24
       /s/ Jared B. Anderson                              /s/ Michael P. Lowry, Esq.__
25     Jared B. Anderson, Esq.                            Michael P. Lowry, Esq.
       David J. Churchill, Esq.                           Douglas M. Rowan, Esq.
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27     Attorneys for Marcelina Lamoureux                  Attorneys for JPMorgan Chase Bank, N.A.
28

                                                  Stipulation and Order - 1
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 1                                                   ORDER
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            Having reviewed the stipulation of the parties, and good cause appearing therefor,
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 4   IT IS HEREBY ORDERED that the Plaintiff’s Opposition to Defendant’s Motion for Summary

 5   Judgment will be filed and served on January 5, 2021.

 6
            IT IS SO ORDERED.
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                                          ____________________________________________
 9                                        UNITED STATES DISTRICT COURT JUDGE
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11
                                                  December 29, 2020
                                          Dated: ______________ ____________
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                                              Stipulation and Order - 2
